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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Joint Administered)
                                                                     )
                                                                     )    Re: Docket No. 189

    AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON AUGUST 11,
    2023 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
     CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR
     THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
         3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


             THE HEARING WILL BE CONDUCTED ENTIRELY VIA ZOOM ONLY.

                Please see below for the connection and registration information.
    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                                Registration Link:

     https://debuscourts.zoomgov.com/meeting/register/vJIsc-mhrzIjE-bzoH-5SpctbVpSxEZEe3s




MATTER GOING FORWARD:
1.           Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
             Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
             Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
             Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection,

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.

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      Amended items are noted in bold.


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        (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023,
        Docket No. 16]

        Response Deadline: Responses can be made before or at the hearing.

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       Declaration of Brian Whittman, Managing Director of Alvarez & Marsal North
                 America, LLC, In Support of the Debtors’ Motion for Entry of Interim and Final
                 Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)
                 Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative
                 Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors
                 to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a
                 Final Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 17]

        B.       Declaration of Cody Leung Kaldenberg, Founding Member and Partner at Ducera
                 Partners, In Support of the Debtors’ Motion for Entry of Interim and Final Orders
                 (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize
                 Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense
                 Claims, (III) Modifying the Automatic Stay, (IV) Authorizing the Debtors to Use
                 UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed 8/7/2023, Docket No. 18]

        C.       [Signed] Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition
                 Financing and (B) Utilize Cash Collateral, (II) Granting Liens and Superpriority
                 Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV)
                 Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate
                 Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
                 [Filed 8/10/2023, Docket No. 181]

        Status: This matter will go forward as a status conference.

ADDITIONAL MATTERS GOING FORWARD:

2.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Payment
        of Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related
        Relief [Filed 8/7/2023, Docket No. 5]

        Status: This matter was adjourned from the first day hearing on August 9, 2023. The
        Debtors are requesting this matter go forward with respect to entry of an interim
        order.




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3.      Motion of Debtors for Entry of Interim and Final Orders (A)(I) Approving the
        Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (II)
        Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Services, (III)
        Approving the Debtors’ Proposed Procedures for Resolving Adequate Assurance
        Requests, and (B) Granting Related Relief [Filed 8/7/2023, Docket No. 13]

        Status: This matter was adjourned from the first day hearing on August 9, 2023. The
        Debtors are requesting this matter go forward with respect to entry of an interim
        order.


Dated: August 11, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)            Patrick J. Nash Jr., P.C. (pro hac vice pending)
Timothy P. Cairns (DE Bar No. 4228)            David Seligman, P.C. (pro hac vice pending)
Peter J. Keane (DE Bar No. 5503)               Whitney Fogelberg (pro hac vice pending)
Edward Corma (DE Bar No. 6718)                 KIRKLAND & ELLIS LLP
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                                               Allyson B. Smith (pro hac vice pending)
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                                               Proposed Co-Counsel for the Debtors and Debtors in
                                               Possession




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